Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 1 of 100 PageID #: 19
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 2 of 100 PageID #: 20
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 3 of 100 PageID #: 21
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 4 of 100 PageID #: 22
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 5 of 100 PageID #: 23
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 6 of 100 PageID #: 24
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 7 of 100 PageID #: 25
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 8 of 100 PageID #: 26
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 9 of 100 PageID #: 27
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 10 of 100 PageID #: 28
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 11 of 100 PageID #: 29
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 12 of 100 PageID #: 30
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 13 of 100 PageID #: 31
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 14 of 100 PageID #: 32
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 15 of 100 PageID #: 33
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 16 of 100 PageID #: 34
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 17 of 100 PageID #: 35
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 18 of 100 PageID #: 36
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 19 of 100 PageID #: 37
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 20 of 100 PageID #: 38
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 21 of 100 PageID #: 39
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 22 of 100 PageID #: 40
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 23 of 100 PageID #: 41
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 24 of 100 PageID #: 42
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 25 of 100 PageID #: 43
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 26 of 100 PageID #: 44
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 27 of 100 PageID #: 45
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 28 of 100 PageID #: 46
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 29 of 100 PageID #: 47
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 30 of 100 PageID #: 48
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 31 of 100 PageID #: 49
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 32 of 100 PageID #: 50
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 33 of 100 PageID #: 51
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 34 of 100 PageID #: 52
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 35 of 100 PageID #: 53
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 36 of 100 PageID #: 54
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 37 of 100 PageID #: 55
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 38 of 100 PageID #: 56
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 39 of 100 PageID #: 57
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 40 of 100 PageID #: 58
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 41 of 100 PageID #: 59
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 42 of 100 PageID #: 60
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 43 of 100 PageID #: 61
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 44 of 100 PageID #: 62
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 45 of 100 PageID #: 63
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 46 of 100 PageID #: 64
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 47 of 100 PageID #: 65
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 48 of 100 PageID #: 66
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 49 of 100 PageID #: 67
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 50 of 100 PageID #: 68
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 51 of 100 PageID #: 69
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 52 of 100 PageID #: 70
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 53 of 100 PageID #: 71
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 54 of 100 PageID #: 72
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 55 of 100 PageID #: 73
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 56 of 100 PageID #: 74
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 57 of 100 PageID #: 75
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 58 of 100 PageID #: 76
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 59 of 100 PageID #: 77
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 60 of 100 PageID #: 78
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 61 of 100 PageID #: 79
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 62 of 100 PageID #: 80
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 63 of 100 PageID #: 81
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 64 of 100 PageID #: 82
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 65 of 100 PageID #: 83
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 66 of 100 PageID #: 84
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 67 of 100 PageID #: 85
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 68 of 100 PageID #: 86
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 69 of 100 PageID #: 87
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 70 of 100 PageID #: 88
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 71 of 100 PageID #: 89
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 72 of 100 PageID #: 90
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 73 of 100 PageID #: 91
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 74 of 100 PageID #: 92
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 75 of 100 PageID #: 93
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 76 of 100 PageID #: 94
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 77 of 100 PageID #: 95
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 78 of 100 PageID #: 96
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 79 of 100 PageID #: 97
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 80 of 100 PageID #: 98
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 81 of 100 PageID #: 99
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 82 of 100 PageID #: 100
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 83 of 100 PageID #: 101
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 84 of 100 PageID #: 102
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 85 of 100 PageID #: 103
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 86 of 100 PageID #: 104
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 87 of 100 PageID #: 105
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 88 of 100 PageID #: 106
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 89 of 100 PageID #: 107
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 90 of 100 PageID #: 108
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 91 of 100 PageID #: 109
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 92 of 100 PageID #: 110
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 93 of 100 PageID #: 111
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 94 of 100 PageID #: 112
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 95 of 100 PageID #: 113
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 96 of 100 PageID #: 114
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 97 of 100 PageID #: 115
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 98 of 100 PageID #: 116
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 99 of 100 PageID #: 117
Case 6:16-cv-00347-SMH-CBW Document 1-4 Filed 03/14/16 Page 100 of 100 PageID #:
                                    118
